                                UNITED STATES DISTRICT COURT
                                EAS l'ERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                                  Plaintiff,

        v.                                                       Case No. 18-CR-117

LAVONDA K. WRIGHT,

                                  Defendant.



                                         PLEA AGREEMENT



       1.          The United States of America, by its attorneys, Matthew D. Krueger, United

States Attorney for the Eastern District of Wisconsin, and Megan J. Paulson, Assistant United

States Attorney, and the defendant, Lavonda K. Wright, individually and by attorney Joshua

Uller pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the following

plea agreement:

                                               CHARGES

       2.          The defendant has been charged in a one-count indictment, which alleges a

violation of Title 18, United States Code, Section 1709.

       3.          The defendant has read and fully understands the charge contained in the

indictment. She fully understands the nature and elements of the crimes with which she has been

charged, and the charge and the terms and conditions of the plea agreement have been fully

explained to her by her attorney.

       4.          The defendant voluntarily agrees to plead guilty to the indictment as set forth in

full as follows:




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       THE GRAND JURY CHARGES:

       Between February 1, 2017, and March 21, 2018, in the State and Eastern District of

Wisconsin,

                                     LAVONDA K WRIGHT,

while employed by the United States Postal Service and entrusted with articles of mail, did steal

US. currency and gift cards contained therein.

       All in violation of Title 18, United States Code, Section 1709.

      5.       The defendant acknowledges, understands, and agrees that she is, in fact, guilty of

the offense described in paragraph 4. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove the following facts beyond a

reasonable doubt. The defendant admits that these facts are true and correct and establish her

guilt beyond a reasonable doubt:

       On September 19, 2015, Lavonda Wright began her employment with the U.S. Postal

Service (USPS). Wright was assigned to deliver mail on Route 48 that includes the 53210 zip

code. In January, 2018, a USPS customer reported that she never received a $100.00 Trader

Joe's gift card. This gift card was sent to her by her daughter. Upon further investigation, it was

found that the gift card was used by Wright at Bayshore Mall in Glendale, WI. Wright used the

card on both December 6 and December 9, 2017. On December 9, 2017, the amount due

exceeded the remaining balance on the card. At that time, Wright used her personal credit card

to complete the purchase.

       After discovering this information, the USPS conducted three integrity tests for Wright.

Wright stole items from two of the three test pieces. During the first test, she appropriately

delivered the mail. The second test, included a $20.00 Target gift card. On February 22, 2018,

Wright took the gift card out of the envelope with an undeliverable address. She then used the
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gift card at Target West Milwaukee on March 18, 2018. A photograph of the defendant using

the gift card was retrieved from Target West Milwaukee. On March 3, 2018, Wright stole from

another test piece of mail. She took another Target gift card out of an envelope addressed to a

vacant apartment. Records show Wright using the gift card at Target Greenfield on March 8,

2018. A photograph of Wright using the gift card was retrieved from Target Greenfield.

Ultimately, a live test was conducted on Wright's route on March 21, 2018. While parked in her

postal vehicle, Wright opened the test piece of mail. The test piece of mail contained $20.00 in

cash. After Wright opened the test piece of mail, agents were alerted and approached Wright's

postal vehicle. Wright was read her Garrity rights and agreed to make a statement. During her

statement, she produced a $20.00 bill from her left front pants pocket, with the same identifying

serial number as the one put inside the test piece of mail. She admitted to stealing from the mail

for approximately one year. She began stealing because of a gambling issue, to help pay bills,

and to take care of her family. She admitted to taking and using the Trader Joe's gift card as

well as the two Target gift cards. She signed a written statement, initialed the photos from

Target, and identified herself in the photos. She also initialed the purchases at Trader Joes as

purchases she made with the stolen gift card. Subsequently, Wright resigned from USPS.

        This information is provided for the purpose of setting forth a factual basis for the plea of

guilty. It is not a full recitation of the defendant's knowledge of, or participation in, this offense.

                                            PENALTIES

       6.       The parties understand and agree that the offense to which the defendant will

enter a plea of guilty carries the following maximum tean of imprisonment and fine: five years

and $250,000. The count also carries a mandatory special assessment of $100, and a maximum

of three years of supervised release.



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                                           ELEMENTS

      7.       The parties understand and agree that in order to sustain the charge of theft of

mail by employee as set forth in the indictment, the government must prove each of the

following propositions beyond a reasonable doubt:

       First, the defendant was a Postal Service employee;

       Second, the item of mail, or thing contained within the item of mail was entrusted to the
       defendant for the purpose of being conveyed by mail; and

       Third, the defendant stole with intent to convert to her own use a thing contained within
       the item of mail.

                                 SENTENCING PROVISIONS

      8.       The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the court at the change of plea hearing.

      9.       The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to

the Sentencing Guidelines when sentencing the defendant.

      10.      The defendant acknowledges and agrees that her attorney in turn has discussed the

applicable sentencing guidelines provisions with him to the defendant's satisfaction.

      11.      The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant's criminal history. The

parties further acknowledge and understand that, at the time the defendant enters a guilty plea,

the parties may not have full and complete information regarding the defendant's criminal

history. The parties acknowledge, understand, and agree that the defendant may not move to




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withdraw the guilty plea solely as a result of the sentencing court's determination of the

defendant's criminal history.

                                Sentencing Guidelines Calculations

      12.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below

the guideline range. The parties further understand and agree that if the defendant has provided

false, incomplete, or inaccurate information that affects the calculations, the government is not

bound to make the recommendations contained in this agreement.

                                          Relevant Conduct

      13.      The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating

the sentencing guidelines range, even if the relevant conduct is not the subject of the offense to

which the defendant is pleading guilty.

                                       Base Offense Level

      14.      The parties agree to recommend to the sentencing court that the applicable base

offense level for the offense charged in the indictment is six under Sentencing Guidelines

Manual § 2B1.1(a)(2).

                                 Specific Offense Characteristics

      15.      The parties agree to recommend to the sentencing court that a two-level increase

for abuse of position of trust by postal worker under Sentencing Guidelines Manual § 3B1.13 is

applicable to the offense level for the offense charged in the indictment.




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                                  Acceptance of Responsibility

      16.      The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the

defendant exhibits conduct consistent with the acceptance of responsibility. The defendant

acknowledges, understands, and agrees that conduct consistent with the acceptance of

responsibility includes but is not limited to the defendant's voluntary identification and

disclosure to the government of any and all actual or potential victims of the offense prior to

sentencing.

                                 Sentencing Recommendations

      17.      Both parties reserve the right to provide the district court and the probation office

with any and all information which might be pertinent to the sentencing process, including but

not limited to any and all conduct related to the offense as well as any and all matters which

might constitute aggravating or mitigating sentencing factors.

      18.      Both parties reserve the right to make any recommendation regarding any other

matters not specifically addressed by this agreement.

      19.      The parties agree and understand that the government will recommend a sentence

of two years' probation and is amendable to probation terminating after one year should the

defendant comply with all the terms of probation and upon concurrence of the supervising

probation officer.

                             Court's Determinations at Sentencing

      20.      The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United

States Probation Office will make its own recommendations to the sentencing court. The

sentencing court will make its own determinations regarding any and all issues relating to the
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imposition of sentence and may impose any sentence authorized by law up to the maximum

penalties set forth in paragraph 6 above. The parties further understand that the sentencing court

will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines

and may impose a reasonable sentence above or below the calculated guideline range.

      21.      The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                    FINANCIAL MATTERS

      22.      The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable in full upon entry of the

judgment of conviction. The defendant further understands that any payment schedule imposed

by the sentencing court shall be the minimum the defendant is expected to pay and that the

government's collection of any and all court imposed financial obligations is not limited to the

payment schedule. The defendant agrees not to request any delay or stay in payment of any and

all financial obligations. If the defendant is incarcerated, the defendant agrees to participate in

the Bureau of Prisons' Inmate Financial Responsibility Program, regardless of whether the court

specifically directs participation or imposes a schedule of payments.

      23.       The defendant agrees to provide to the Financial Litigation Unit (FLU) of the

United States Attorney's Office, at least 30 days before sentencing, and also upon request of the

FLU during any period of probation or supervised release imposed by the court, a complete and

sworn financial statement on a form provided by the FLU and any documentation required by the

form. The defendant further agrees, upon request of the FLU whether made before or after

sentencing, to promptly: cooperate in the identification of assets in which the defendant has an

interest, cooperate in the liquidation of any such assets, and participate in an asset deposition.



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                                        Special Assessment

      24.        The defendant agrees to pay the special assessment in the amount of $100 prior to

or at the time of sentencing.

                                            Restitution

      25.        The defendant agrees to pay restitution in the amount of $205.00 at or before the

time of sentencing. The parties further agree to hold open restitution to determine any further

loss by unidentified victims for a period of 90 days.

                            DEFENDANT'S WAIVER OF RIGHTS

      26.        In entering this agreement, the'defendant acknowledges and understands that she

surrenders any claims she may have raised in any pretrial motion, as well as certain rights which

include the following:

            a.      If the defendant persisted in a plea of not guilty to the charges against him, she
                    would be entitled to a speedy and public trial by a court or jury. The defendant
                    has a right to a jury trial. However, in order that the trial be conducted by the
                    judge sitting without a jury, the defendant, the government and the judge all
                    must agree that the trial be conducted by the judge without a jury.

            b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                    selected at random. The defendant and her attorney would have a say in who
                    the jurors would be by removing prospective jurors for cause where actual
                    bias or other disqualification is shown, or without cause by exercising
                    peremptory challenges. The jury would have to agree unanimously before it
                    could return a verdict of guilty. The court would instruct the jury that the
                    defendant is presumed innocent until such time, if ever, as the government
                    establishes guilt by competent evidence to the satisfaction of the jury beyond a
                    reasonable doubt.

            c.      If the trial is held by the judge without a jury, the judge would find the facts
                    and determine, after hearing all of the evidence, whether or not he was
                    persuaded of defendant's guilt beyond a reasonable doubt.

            d.      At such trial, whether by a judge or a jury, the government would be required
                    to present witnesses and other evidence against the defendant. The defendant
                    would be able to confront witnesses upon whose testimony the government is
                    relying to obtain a conviction and he would have the right to cross-examine
                    those witnesses. In turn the defendant could, but is not obligated to, present
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                     witnesses and other evidence on her own behalf. The defendant would be
                     entitled to compulsory process to call witnesses.

             e.      At such trial, defendant would have a privilege against self-incrimination so
                     that she could decline to testify and no inference of guilt could be drawn from
                     her refusal to testify. If defendant desired to do so, she could testify on her
                     own behalf.

      27.         The defendant acknowledges and understands that by pleading guilty she is

waiving all the rights set forth above. The defendant further acknowledges the fact that her

attorney has explained these rights to him and the consequences of her waiver of these rights.

The defendant further acknowledges that as a part of the guilty plea hearing, the court may

question the defendant under oath, on the record, and in the presence of counsel about the

offense to which the defendant intends to plead guilty. The defendant further understands that the

defendant's answers may later be used against the defendant in a prosecution for perjury or false

statement.

      28.         The defendant acknowledges and understands that she will be adjudicated guilty

of the offense to which she will plead guilty and thereby may be deprived of certain rights,

including but not limited to the right to vote, to hold public office, to serve on a jury, to possess

firearms, and to be employed by a federally insured financial institution.

      29.         The defendant knowingly and voluntarily waives all claims she may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth

Amendment. The defendant agrees that any delay between the filing of this agreement and the

entry of the defendant's guilty plea pursuant to this agreement constitutes excludable time under

the Speedy Trial Act.

                              Further Civil or Administrative Action

      30.         The defendant acknowledges, understands, and agrees that the defendant has

discussed with her attorney and understands that nothing contained in this agreement, including
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any attachment, is meant to limit the rights and authority of the United States of America or any

other state or local government to take further civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict

rights and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                                     GENERAL MATTERS

      31.      The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

      32.      The parties acknowledge, understand, and agree that this plea agreement will be

filed and become part of the public record in this case.

      33.      The parties acknowledge, understand, and agree that the United States Attorney's

office is free to notify any local, state, or federal agency of the defendant's conviction.

      34.      The defendant understands that pursuant to the Victim and Witness Protection

Act, the Justice for All Act, and regulations promulgated thereto by the Attorney General of the

United States, the victim of a crime may make a statement describing the impact of the offense

on the victim and further may make a recommendation regarding the sentence to be imposed.

The defendant acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this agreement.

             EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

      35.      The defendant acknowledges and understands if she violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government's
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agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea

agreement is revoked or if the defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of his breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the

defendant and her attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that she continues to be subject to the terms of

the proffer letter.

                       VOLUNTARINESS OF DEFENDANT'S PLEA

      36.       The defendant acknowledges, understands, and agrees that she will plead guilty

freely and voluntarily because she is in fact guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.




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                                    ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the twins
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.



Date:   8 2-q    '   la                      LAVONDA K. WRI J T
                                             Defendant


I am the defendant's attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.



Date:

                                            Attorney for Defendant


For the United States of America:



Date:                                                       e59 11/b44t,
                                       -Fil,MA.TTEIEW`D. KRUEGER
                                            United States Attorney



Date: V2 (di
                                            MEI7AN . PA SON
                                            Assistant United States Attorney




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